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  Brian 1Alearren P-03629
  California Men's Colony —West
  P,O. Box 8101                                               Ret~eived     S/ t q i t~"~-O
  S tn Luis Obi~o,CA 934099101
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  BRIAN tAfEARRFN                                   Case No. CV 2:18-9637-JGB (1PR)
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         AMWW~t ~'~"iy                                                                            ~~           c.a K~
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  7.
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  s.
          ~1 ~ Ct..~ir~tS. Tt~~~ t.~~~~ ute~s ~a-r~'b ~Pst~~.. E7 ~.~2a. ~+tc.
  4.
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  11. ~~
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         Ut1~ ~=> Tt~~ ~'~~~~~PdA Y' rt?~.~~5 ~ ~b~~t '
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  14.
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  15,
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  ~:~.
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  17.
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  2ca.
         i~~ C~tt~Fc:~ltA, E~r'~t~s~.~r3C"j t~ ~!~~:cnc:~r~ts5 t~tr~ ;~~~.t3~c..~~;~~i:~

  aa, f-,
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                                      J{C~'~rdt~`i~,                                                     A~~
  2~. ~
               RAC S~~Vt~~~~ i~J~LL~~trJ~ ~~~ L.l~'~t ~.lC~~~~ 'I~it~ ~f~~, k~~=~'-~~'1~.
  24.
      ~I..C,1~~ ~~:':Tt~~M~'t~'7"f~t,~           ~.~A~1~~~.       AFB N.~ lit t_~_ r~~-~=~ A,rd',~ ~;,~~~'~7~;
  25' ,.~..~ ,
             "5.~4~ I,.,~'~i i.-t~3R.~R.'7i Tk~~t2c.;~'f~~'E :i'~~:~:'~~t`.~~1._ t~t~~1`~~t~i~~;`;~Cs
  2b.
        J~.L /~C~.~5 `~ At~`~j t.~~A L N~A't~f~ t Ate "I-i~# ~lT ki'u ~ ~.~"3 ~t ~k.{~S~t.> IR~~')
  Z7. „~.~
                   ~~C~t.rf~E 1''t~ ~~VEG AC.Ttt~t~.Y f~~t~.l"~ ~=~.~~:"t~~~~:.~'_.,, ~Rtw;.f'Ck~t~t tla,
          t~a~~ ~:Mart-             ~e~~:~~~:~~.~+::~ ~ r~n~t~ ~.~~ ~~~,~ 4~.rr~~` ~~1~ ~ ~:~.:~,n~~;~ ~~ c~ ~ ~~
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   2,
            Cc~►~t.b t.,A,ST t.~t~'tt... ~ ~t~ ~ T~+~' Y~
   3.
            tkt~ °~ ~~~ irt ~rc3t ~. r                         -3`~ ~,~c:~i c~~2. ~~ ~c vu~4~t'~ H-c~~v                                                              ~C G
   4k        ~, ~' C~1~~t~t ~~ ~7;Ay - ,~{" - ~-t~ Nib                                                         t~ icy t~". SC~c.r ~s,L 2~ t 5~J~.t ~ ~
   5.
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   8.                                                  .`
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   10.
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   ~.i.
             ~~ c~c.,rvtt~.~.b~4~Ec~5 aF ~C~-}~ ~~. ~. t~~tq~i57~A~"~ ,.~~~~:                                                                                   ,~
       z.
       .               ~ c~ ~.~:~ -r~~ ~=~m ~~r ~ t~~s sic ~~ra 't~~r~ ~ r~cc~r~-r-- ~.~ ~µ~.
   ].3. '
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   14,
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   15,
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   q         `~ ~-~I `~ i+'L            ~L.~~ ~~` ~'V~~^4 1                   ~~f't ~ N~           k. Rri~..~~[
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   4~.            /y           tt ~ t        t ~ p1   ~i      t~               , } ~-`     t,,     A,                ~`~                           ~~,+          ~~~~+~~
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   19.                                                                                              ~ ~b
             ~`~ ll~.~ '~ (~: t.-AC's'                f h~Tt        "~ ~ s T~~_F`                                ~ f ~s'7-~`1~~~-~ ~T~:~t          l~~'iK1r
   ~~.
                   '}tC_~~~a
   21.
                       t~!~     ~#~ t ~ ~'~ 4~..a'~~T" ~                            :~c~ f'~lM t~r~.~' ~ `~.'~~E~.r a~"~j t _ U~t !L.L ~~:
   22,
                                                                                         L~ 9~S Lt' ~St~14i~                                 (:~1~~ LA 1~
   a~,        /~ ~~r-          ~ r      a~                     ry-                                                         ~-~y         v~
              4~+'~c..7G       '~»-i~~- J      .~       ~~~        ( ~-~ ~✓    ~+ IJ G)          ~3''~~i jC,.C~
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